                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                  Southern Division
                              Docket No. 7:09-CR-164-2D

United States Of America                      )
                                              )                 ORDER MODIFYING AND
       vs.                                    )
                                              )                CONTINUING SUPERVISION
William H. Yates                              )


        William H. Yates appeared with counsel before the Honorable James C. Dever III, U.S.
District Judge, on June 23, 2010, and pursuant to an earlier plea of guilty to False Distress Message
and Aiding and Abetting, in violation of 14 U.S.C. §§ 88(c) and 2, was sentenced to a 36-month
term of probation.

       After sentencing and while being processed by U.S. Probation Office personnel, the
defendant submitted a urine specimen which yielded a presumptive positive for marijuana. The
defendant admitted to using marijuana on or about June 19,20 IO. The defendant was returned to
court with counsel on June 23, 2010. The court considered the defendant's admission of drug use
and ORDERED that the probation sentence heretofore granted be modified as follows:

       The defendant shall be confined in the custody of the Bureau of Prisons for a period of five
       consecutive (5) days beginning immediately and shall abide by all rules and regulations of
       the designated facility.

         IT IS FURTHER ORDERED that except as herein modified, the Judgment shall remain
in full force and effect.

       This the 23rd day of June, 2010.




        Case 7:09-cr-00164-D          Document 61         Filed 06/23/10      Page 1 of 1
